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                                   IN THE UNITED STATES DISTRICT COURtO                            2:
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            WAYCROSS DIVISION




              CARLOS ANTONIO MEN DOSA,

                                  Petitioner,                        CIVIL ACTION NO: CV5I0-004

                           V.


              UNITED STATES OF AMERICA,                               (Case No.: CR508-7)

                                   Respondent


                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                     Defendant Carlos Antonio Mendosa ('Mendosa), who is currently incarcerated

              at the Federal Correctional Institution Low in Yazoo City, Mississippi, filed a Motion to

              Vacate, Set Aside, or Correct his Sentence pursuant to 28 U.S.C. § 2255. The

              Government filed a Response, and Mendosa filed a Reply. For the reasons which

              follow, Mendosa's motion should be DISMISSED.

                                            STATEMENT OF THE CASE

                     Mendosa was sentenced in this Court to 158 months' imprisonment, followed by

              five (5) years' supervised release, after he pled guilty to conspiracy to possess with

              intent to distribute, and to distribute, 50 grams or more of methamphetamine, in violation

              of 21 U.S.C. § 846. Mendosa did not file a direct appeal.

                     In his Motion, Mendosa asserts that his co-defendant did not receive the same

              two-level firearm enhancement that he received. Mendosa also asserts that false



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              information obtained from confidential informants was used in preparing his Pre-

              Sentence Investigation report ("PSI"). Finally, Mendosa asserts that his counsel was

              ineffective for failing to object to the two-level firearm enhancement he received that his

              co-defendant did not.

                      The Government asserts that Mendosa's plea agreement contained a collateral

              attack waiver, and Mendosa's claims are barred by that waiver.

                                       DISCUSSION AND CITATION TO AUTHORITY

                      The Government contends that Mendosa knowingly and voluntarily agreed to the

              waiver provision contained in his plea agreement, and the waiver is enforceable against

              him.

                      It is well-settled that a waiver of appeal' provision is enforceable if the waiver is

              knowing and voluntary. United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001).

              "'To establish the waiver's validity, the government must show either that (1) the district

              court specifically questioned the defendant about the provision during the plea colloquy,

              or (2) it is manifestly clear from the record that the defendant fully understood the

              significance of the waiver." United States v. Mottola, No. 09-15803, 2010 WL 3310707,

              at *1 (11th Cir. Aug. 24, 2010) (quoting United States v. Benitez-Zapata, 131 F.3d 1444,

              1446 (11th Cir. 1997)). The fact that a petitioner attempts to challenge his sentence

              under the guise of an ineffective assistance of counsel claim does not change this

              result. See Williams v. United States, 396 F.3d 1340, 1342 (11th Cir. 2005) ("[A] valid

              sentence appeal-waiver, entered into voluntarily and knowingly, pursuant to a plea

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                "Appeal" refers to the right to "appeal or contest, directly or collaterally, [a] sentence." United States v.
              Bushert, 997 F,2d 1343, 1345 (11th Cir. 1993). Case law concerning waiver of a direct appeal has also
              been applied to waiver of the right to collateral proceedings. Id. at 1345; see also, Vaca-Ortiz v. United
              States, 320 F. Supp.2d 1362, 1365-67 (N.D.Ga. 2004).


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              agreement, precludes the defendant from attempting to attack, in a collateral

              proceeding, the sentence through a claim of ineffective assistance of counsel during

              sentencing." (citations omitted)).

                     Meridosa and his attorney negotiated a plea agreement with the Government,

              and Mendosa agreed to plead guilty to a lesser included offense of count one of the

              indictment. A "Limited Waiver of Appeal" was included as part of this plea agreement.

              This section provided:

                     To the maximum extent permitted by federal law, [the] defendant
                     voluntarily and expressly waives the right to appeal the conviction and
                     sentence and the right to collaterally attack the sentence in any post-
                     conviction proceeding, including a [28 U.S.C.] § 2255 proceeding, on any
                     ground, except that: the defendant may file a direct appeal of his sentence
                     if it exceeds the statutory maximum; and the defendant may file a direct
                     appeal of his sentence if, by variance or upward departure, the sentence
                     is higher than the advisory sentencing guideline range as found by the
                     sentencing court. The defendant understands that this Plea Agreement
                     does not limit the Government's right to appeal, but if the Government
                     appeals the sentence imposed, the defendant may also file a direct appeal
                     of the sentence.

              (CR508-7, Doc. No. 903, p. 9, ¶ 4).

                     Mendosa appeared before the Honorable Lisa Godbey Wood for his Change of

              Plea, or Rule 11, hearing. Judge Wood asked Mendosa if he understood what it meant

              to plead guilty, whether he was entering into the plea agreement knowingly and

              voluntarily, and to which charge he was pleading guilty. (CR508-7, Doc. No. 1139, pp.

              7-14). Judge Wood informed Mendosa that the maximum penalty he faced, per the

              applicable statute, was 'not more than twenty years['] imprisonment, a fine of not more

              than $1 million or both, at least three years['] supervised release, and a one hundred

              dollar special assessment." (Id. at p. 15). Judge Wood also informed Mendosa that

              the Sentencing Guidelines provide for a range for his sentence, and these Guidelines


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              allow for certain factors, such as a criminal history and acceptance of responsibility.

              Mendosa indicated his understanding of all of these matters.

                       Additionally, Judge Wood asked the prosecuting Assistant United States Attorney

              ("AUSA") to set forth the terms of the plea agreement in open court. AUSA Darrin

              McCullough stated, "Under the terms of the plea agreement, the Defendant has agreed

              to plead guilty to the lesser included offense of Count One of the Indictment. . . He

              has agreed to consent to the . . . limited appeal waiver[ ]." (Id. at p. 18). AUSA

              McCullough described the limited appeal waiver as:

                       simply that he is giving up his right to appeal or collaterally attack the
                       sentence, except that he may appeal the sentence in two circumstances:
                       one, if the Court imposes a sentence above the statutory maximum; and
                       two, if the Court, by variance or upward departure, goes above the advisory
                       guideline range as determined by the Court and the probation officer.

              (Id.).

                       Further, Judge Wood addressed Mendosa again about his understanding of the

              plea agreement.

                       THE COURT: Are there any promises that anyone has made to you that
                                     are not contained in the agreement as outlined by Mr.
                                     McCullough in open court this morning?

                       THE DEFENDANT: No, ma'am.

                       THE COURT:          Other than the promises contained in that plea agreement,
                                           has anyone made any promises to you regarding your case?

                       THE DEFENDANT: No, ma'am.

                       THE COURT: You understand that the plea agreement is not binding upon
                                     the Court, but if I should reject it for any reason, then you will
                                      be allowed to withdraw your plea of guilty and proceed with a
                                      plea of not guilty. Do you understand that?

                       THE DEFENDANT: Yes, ma'am.



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                         THE COURT: Pursuant to the plea agreement that you entered into, you
                                       have agreed to waive any right to appeal the sentence
                                       imposed in your case, and that includes the waiver of any
                                       rights to collaterally attack your sentence or attack the
                                       voluntariness, providence, or factual basis for a plea of guilty
                                       entered pursuant to your agreement. There is a condition on
                                       your waiver appeal, however, that if I should pronounce a
                                       sentence that is above the applicable guideline range in your
                                       case or is an illegal sentence, then you would be able to
                                       appeal that sentence. Do you understand that?

                         THE DEFENDANT: Yes, ma'am.

                   (Id. at pp. 20-21). The Government then provided a factual basis for Mendosa's plea of

                   guilty. (Id. at pp. 23-28). After hearing from Mendosa again, Judge Wood accepted

                   Mendosa's plea and adjudged him guilty of conspiracy to possess with intent to

                   distribute and to distribute a quantity of methamphetamine. (Id. at p. 30).

                         The record clearly indicates that Mendosa understood the implications of

                   entering a guilty plea, as well as the meaning of the limited waiver of appeal condition.

                   In addition, Judge Wood specifically questioned Mendosa about this condition during

                   the Rule 11 hearing. Mottola, 2010 WL 3310707, at *1. Mendosa's sentence of 158

                   months' imprisonment fell within the 135 to 168 months' Guidelines range (CR508-7,

                   Doc. No. 1136, pp. 29-30), and well below the statutory maximum of 20 years'

                   imprisonment. Mendosa's claims clearly fall within the limited waiver of appeal condition

                   of his plea agreement, and he is not entitled to his requested relief. Likewise,

                   Mendosa's assertion that his counsel was ineffective in failing to object to the two-level

                   firearm enhancement does not offer Mendosa an avenue for his requested relief.

                   Williams, 396 F.3d at 1342.




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                                                CONCLUSION

                    Based on the foregoing, it is my RECOMMENDATION that Mendosa's Motion to

              Vacate, Set Aside, or Correct his Sentence, filed pursuant to 28 U.S.C. § 2255, be

              DISMISSED.

                    SO REPORTED and RECOMMENDED, this / ay of September, 2010.




                                                       '1ES E. GRAHAM
                                                       ITED STATES MAGISTRATE JUDGE




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